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Fill in this information to identify the case

United States Bankruptcy Court for the

Southern                   District of   Texas
                                         (State)
Case number (If known):                                         Chapter 11

                                                                                                                                                     ☐ Check if this is
                                                                                                                                                     an amended filing

 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       04/19
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
 known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


   1.   Debtor’s name                              EP Energy Corporation


   2.   All other names debtor used                None
        in the last 8 years

        Include any assumed names, trade
        names, and doing business as
        names


   3.   Debtor’s federal Employer
        Identification Number (EIN)             XX-XXXXXXX


   4.   Debtor’s        Principal place of business                                                         Mailing address, if different from principal place of
        address                                                                                             business


                        1001                       Louisiana Street
                        Number                     Street                                                   Number                      Street



                                                                                                            P.O. Box


                        Houston                    Texas               77002
                        City                       State               ZIP Code                             City                        State          ZIP Code

                                                                                                            Location of principal assets, if different from principal
                                                                                                            place of business
                        Harris
                        County
                                                                                                            Number                      Street




                                                                                                            City                        State          ZIP Code



   5.   Debtor’s website (URL)                     www.epenergy.com


   6.   Type of debtor                          ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                ☐ Partnership (excluding LLP)
                                                ☐ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                Page 1
Debtor
                         Case 19-35654 Document 1 Filed in TXSB on  10/03/19 Page 2 of 22
                                                                 Case number (if known)
               EP Energy Corporation
               Name


                                       A. Check one:
7.   Describe debtor’s business
                                       ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                       ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ☒   None of the above Oil and Gas Exploration


                                       B. Check all that apply:
                                       ☐ Tax- entity (as described in 26 U.S.C. § 501)
                                       ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                       ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                           2111


                                       Check one:
8.   Under which chapter of the
     Bankruptcy Code is the            ☐ Chapter 7
     debtor filing?                    ☐ Chapter 9
                                       ☒ Chapter 11. Check all that apply:
                                                        ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                          insiders or affiliates) are less than $2,725,625 (amount subject to adjustment
                                                          on 4/01/22 and every 3 years after that).
                                                        ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                          debtor is a small business debtor, attach the most recent balance sheet,
                                                          statement of operations, cash-flow statement, and federal income tax return or
                                                          if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                          1116(1)(B).
                                                        ☐ A plan is being filed with this petition.
                                                        ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                          creditors, in accordance with 11 U.S.C. § 1126(b).
                                                        ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                          the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                          Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                          Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                          with this form.
                                                        ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                          1934 Rule 12b-2.
                                       ☐ Chapter 12


9.   Were prior bankruptcy cases       ☒ No
     filed by or against the debtor
                                       ☐ Yes        District                       When                          Case number
     within the last 8 years?
     If more than 2 cases, attach a                                                              MM/ DD/ YYYY
     separate list.
                                                    District                       When                          Case number

                                                                                                 MM / DD/ YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a
    business partner or an             ☒ Yes        Debtor         See Schedule 1                                Relationship   See Schedule 1
    affiliate of the debtor?                        District       Southern District of Texas                    When           See Schedule 1
     List all cases. If more than 1,
                                                    Case number, if known                                                       MM / DD/ YYYY
     attach a separate list.




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      Page 2
Debtor
                         Case 19-35654 Document 1 Filed in TXSB on  10/03/19 Page 3 of 22
                                                                 Case number (if known)
               EP Energy Corporation
               Name


 11.     Why is the case filed in this       Check all that apply:
         district?
                                             ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                  district.
                                             ☒    A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have
     possession of any real                  ☒ No
     property or personal property           ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     that needs immediate
     attention?                                        Why does the property need immediate attention? (Check all that apply.)
                                                       ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                            health or safety.
                                                            What is the hazard?
                                                       ☐    It needs to be physically secured or protected from the weather.
                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                            without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                            securities-related assets or other options).

                                                       ☐ Other


                                                       Where is the property?
                                                                                           Number                   Street


                                                                                           City                              State                 ZIP Code
                                                      Is the property insured?
                                                                                         ☐ No
                                                                                        ☐ Yes. Insurance agency
                                                                                                  Contact Name
                                                                                                  Phone




                Statistical and administrative information



   13. Debtor’s estimation of            Check one:
       available funds                   ☒    Funds will be available for distribution to unsecured creditors.
                                         ☐    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

   14. Estimated number of               
                                         ☐    1-49                                     ☐      1,000-5,000                            ☐   25,001-50,000
       creditors                         ☐    50-99                                    ☐      5,001-10,000                           ☐   50,001-100,000
         (on a consolidated basis        ☐    100-199                                  ☒      10,001-25,000                          ☐   More than 100,000
         with all affiliated debtors)    ☐    200-999

   15. Estimated assets                  ☐    $0-$50,000                               ☐      $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
         (on a consolidated basis        ☐    $50,001-$100,000                         ☐      $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
         with all affiliated debtors)    ☐    $100,001-$500,000                                                                      ☐   $10,000,000,001-$50 billion
                                                                                       ☐      $50,000,001-$100 million
                                         ☐    $500,001-$1 million                                                                    ☐   More than $50 billion
                                                                                       ☐      $100,000,001-$500 million

   16. Estimated liabilities             ☐    $0-$50,000                               ☐      $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
         (on a consolidated basis        ☐    $50,001-$100,000                         ☐      $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
         with all affiliated debtors )   ☐    $100,001-$500,000                                                                      ☐   $10,000,000,001-$50 billion
                                                                                       ☐      $50,000,001-$100 million
                                         ☐    $500,001-$1 million                                                                    ☐   More than $50 billion
                                                                                       ☐      $100,000,001-$500 million


Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  Page 3
Debtor
                       Case 19-35654 Document 1 Filed in TXSB on  10/03/19 Page 4 of 22
                                                               Case number (if known)
               EP Energy Corporation
               Name




                Request for Relief, Declaration, and Signatures


WARNING  Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
          $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

     17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         authorized representative of             this petition.
         debtor
                                                 I have been authorized to file this petition on behalf of the debtor.

                                                 I have examined the information in this petition and have a reasonable belief that the information is
                                                  true and correct.
                                                  I declare under penalty of perjury that the foregoing is true and correct.

                                                      Executed on October 3, 2019
                                                                     MM/ DD /YYYY



                                                      /s/ David Rush                                           David Rush
                                                      Signature of authorized representative of                Printed name
                                                       debtor

                                                      Chief Restructuring Officer
                                                      Title




     18. Signature of attorney                    /s/ Alfredo R. Pérez                                        Date       October 3, 2019
                                                 Signature of attorney for debtor                                       MM / DD / YYYY

                                                 Alfredo R. Pérez                                            Matthew S. Barr
                                                   Printed Name
                                          
                                                 Weil, Gotshal & Manges LLP                                  Weil, Gotshal & Manges LLP
                                                   Firm Name
                                          
                                                 700 Louisiana Street, Suite 1700                            767 Fifth Avenue
                                                   Address
                                          
                                                 Houston, Texas 77002                                        New York, New York 10153
                                                   City/State/Zip
                                          
                                                 (713) 546-5000                                              (212) 310-8000
                                                   Contact Phone
                                          
                                                 alfredo.perez@weil.com                                      matt.barr@weil.com
                                                   Email Address
                                          
                                                 15776275                            Texas
                                                   Bar Number                          State
                                          




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          Page 4
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION


                                                                   §
In re:                                                             §         Chapter 11
                                                                   §
EP ENERGY CORPORATION                                              §         Case No. 19-_____ (___)
                                                                   §
                       Debtor.                                     §
                                                                   §

                                Attachment to Voluntary Petition for Non-Individuals
                                      Filing for Bankruptcy under Chapter 11
          1. If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-36253.
       2.      The following financial data is the latest available information and refers to the
debtor’s condition on June 30, 2019.
          a.    Total assets (on a consolidated basis with all affiliated debtors)              $ 4,190,000,000
          b.    Total debts (including debts listed in 2.c., below)
                (on a consolidated basis with all affiliated debtors)                           $ 4,975,000,000
          c.    Debt securities held by more than 500 holders                                   N/A
                                                                                                                          Approximate
                                                                                                                          number of holder
                      secured           unsecured             subordinated                  $
                      secured           unsecured             subordinated                  $
                      secured           unsecured             subordinated                  $

           d.   Number of shares of preferred stock                                                                        0
           e.   Number of shares common stock                                                                              255,185,316

          Comments, if any: _______________________________________________________________________
          ______________________________________________________________________________________
          Brief description of debtor’s business: EP Energy operates as an independent exploration and production
          company engaged in the acquisition and development of unconventional onshore oil and natural gas
          properties in the United States. The Company operates through a diverse base of producing assets and is
          focused on the development of drilling inventory located in three areas: the Eagle Ford Shale in South Texas,
          the Permian Basin in West Texas, and the Uinta Basin in Northeastern Utah.
        3.       List the names of any person who directly or indirectly owns, controls, or holds, with power to
vote, 5% or more of the voting securities of debtor:
                                   Affiliates of Apollo Global Management LLC                   39.0%
                                   Korea National Oil Corporation                               12.3%
                                   Affiliates of Riverstone Holdings LLC                        12.3%
                                   Access Industries, Inc.                                      13.7%




 Official Form 201A                   Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
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                                              Schedule 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

               On the date hereof, each of the affiliated entities listed below (collectively,
the “Debtors”) filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code in the United States Bankruptcy Court for the Southern District of Texas. The Debtors have
filed a motion requesting that the chapter 11 cases of these entities be consolidated for procedural
purposes only and jointly administered pursuant to Rule 1015(b) of the Federal Rules of
Bankruptcy Procedure.

                                            COMPANY
                        EP Energy E&P Company, L.P.
                        EP Energy Resale Company, L.L.C.
                        EP Energy Management, L.L.C.
                        EP Energy Global LLC
                        Everest Acquisition Finance Inc.
                        EP Energy LLC
                        EPE Acquisition, LLC
                        EP Energy Corporation
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                                  WRITTEN CONSENT
                            OF THE SPECIAL COMMITTEE
                           OF THE BOARD OF DIRECTORS OF
                              EP ENERGY CORPORATION

                                        October 3, 2019

                WHEREAS, the Board of Directors (the “Board”) of EP Energy Corporation
(the “Company”) previously delegated to this committee of directors, by resolutions of the
Board adopted by written consent dated June 4, 2019 (the “Committee”), certain
responsibilities, powers and authority to, among other things, consider, evaluate, and negotiate
with third parties various strategic alternatives, including but not limited to, a capital markets,
debt repurchase, restructuring and/or other balance sheet transaction in an effort to maximize the
value of the Company and its assets and, if the Committee deems it to be in the best interests of
the Company, that the Committee approve and authorize the entry into such transaction by the
Company;

                WHEREAS, the Committee has, with the assistance of (i) financial advice from
its financial advisors and management (ii) legal advice from outside counsel and the general
counsel to the Company and (iii) management of the Company, fully considered each of the
strategic alternatives available to the Company and has had the opportunity to ask questions
about the materials presented by management and the legal and financial advisors of the
Company regarding the liabilities and liquidity of the Company and the strategic alternatives
available to the Company;

              WHEREAS, each of EPE Acquisition, LLC, EP Energy LLC, Everest
Acquisition Finance Inc., EP Energy Global LLC, EP Energy Management, L.L.C., EP Energy
Resale Company, L.L.C., and EP Energy E&P Company, L.P. are, directly or indirectly, a
wholly owned subsidiary of the Company (the “Subsidiaries” and, together with the Company,
the “Company Parties”); and

               WHEREAS, the Committee has determined that taking the actions set forth
below are advisable and in the best interests of the Company and, therefore desires to approve
the following resolutions:

  I.   Commencement of Chapter 11 Cases

                NOW, THEREFORE, BE IT RESOLVED, that the Committee has determined,
after due consultation with the management and the legal and financial advisors of the Company,
that it is desirable and in the best interests of each of the Company Parties, their respective
creditors, and other parties in interest that a petition be filed by each of the Company Parties
seeking relief under the provisions of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”); and be it further

               RESOLVED, that any officer of the Company (each, an “Authorized Person”),
in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
directed to execute and file in the name and on behalf of the Company, and to execute and file,
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or cause to be executed and filed, in the name and on behalf of each of the Subsidiaries, all plans,
petitions, schedules, statements, motions, lists, applications, pleadings, orders, and other
documents in the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”), and, in connection therewith, to employ and retain all assistance by
legal counsel, accountants, financial advisors, investment bankers, and other professionals, and
to take and perform any and all further acts and deeds which such Authorized Person, who may
act without the joinder of any other Authorized Person, deems necessary, proper, or desirable in
connection with the Company Parties’ chapter 11 cases (the “Chapter 11 Cases”), including
negotiating, executing, delivering, and performing any and all documents, agreements,
certificates, and instruments in connection with the successful prosecution of such Chapter 11
Cases, including the professional retentions set forth in this resolution.

 II.   Officers

                FURTHER RESOLVED, that the individual set forth below be, and hereby is,
elected to the temporary position or office of the Company set forth opposite his name, to serve
subject to, and in accordance with, the bylaws of the Company and direction of the Committee,
and to hold such position or office until his job is satisfied or until his earlier death, resignation
or removal:

                  David Rush                            Chief Restructuring Officer

III.   Retention of Advisors

               RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, NY 10153, is hereby retained as attorneys for the Company Parties in
the Chapter 11 Cases, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that Evercore Group L.L.C., located at 55 East 52nd Street, New
York, NY 10055, is hereby retained as investment banker for the Company Parties in the Chapter
11 Cases, subject to Bankruptcy Court approval; and be it further

               RESOLVED, that FTI Consulting, Inc., located at 1301 McKinney Street, Suite
3500, Houston TX 77010, is hereby retained for the Company Parties in the Chapter 11 Cases,
subject to Bankruptcy Court approval; and be it further

                RESOLVED, that Prime Clerk LLC, located at One Grand Central Place, 60 East
42nd Street, Suite 1440, New York, NY 10165, is hereby retained as claims, noticing and
solicitation agent for the Company Parties in the Chapter 11 Cases, subject to Bankruptcy Court
approval.

IV.    Use of Cash Collateral

               WHEREAS, in connection with the Restructuring, the Subsidiaries have
considered providing adequate protection, including paying certain fees to certain of their
prepetition secured lenders pursuant to a consensual cash collateral order (the “Cash Collateral
Order”) on terms and conditions similar to those previously provided to the Committee.


                                                  2
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               WHEREAS, the Committee, having considered the terms of the Cash Collateral
Order, and having consulted with and considered advice from the Company Parties’ legal and
financial advisors, deems it advisable and in the best interests of the Subsidiaries to enter into the
transactions contemplated therein.

               NOW, THEREFORE, BE IT RESOLVED, that the Committee authorizes and
directs the officers of each Subsidiary to take such action as the officers deem necessary or
appropriate to cause each Subsidiary to complete the transactions contemplated by the Cash
Collateral Order, including, but not limited to, the filing and/or execution and delivery of each of
the documents and instruments to be executed by such Subsidiaries which are described in or
contemplated by the Cash Collateral Order, and any and all other agreements, documents or
instruments required or appropriate in connection with or incidental to the transactions
contemplated by each of the foregoing.

 V.    General Authorization and Ratification

               NOW, THEREFORE, BE IT RESOLVED, that each Authorized Person be,
and each, acting alone, hereby is, authorized, empowered and directed, for and on behalf of the
Company to do and perform all such acts and things and enter into, execute, acknowledge,
deliver and file all such certificates, agreements, acknowledgments, instruments, contracts,
statements and other documents and to take such further actions as such Authorized Person may
deem necessary or appropriate to effect the intent and accomplish the purposes of the foregoing
resolutions, with the taking of any such action by such Authorized Person being conclusive
evidence that the same did meet such standards as set forth above; and be it further

               RESOLVED, that each officer of each of the Subsidiaries be, and each, acting
alone, hereby is, authorized, empowered and directed, for and on behalf of the applicable
Subsidiary to do and perform all such acts and things and enter into, execute, acknowledge,
deliver and file all such certificates, agreements, acknowledgments, instruments, contracts,
statements and other documents and to take such further actions as such person may deem
necessary or appropriate to effect the intent and accomplish the purposes of the foregoing
resolutions, with the taking of any such action by such person being conclusive evidence that the
same did meet such standards as set forth above; and be it further

                RESOLVED, that any and all actions taken by any Authorized Person prior to the
date of adoption of the foregoing resolutions which would have been authorized by the foregoing
resolutions but for the fact that such actions were taken prior to such date, be, and each hereby is,
ratified, approved, confirmed and adopted as a duly authorized act of the Company in all respects
and for all purposes.



                                              *****




                                                  3
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               IN WITNESS WHEREOF, the undersigned, being all of the directors who are
members of the Committee of EP ENERGY CORPORATION, have executed this written
consent as of the date set forth above.




                                  Name: Carol Flaton




                                  Name: J. Barton Kalsu




                      [SIGNATURE PAGE TO RESOLUTION OF SPECIAL COMMITTEE]
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               IN WITNESS WHEREOF, the undersigned, being all of the directors who are
members of the Committee of EP ENERGY CORPORATION, have executed this written
consent as of the date set forth above.



                                  COMMITTEE DIRECTORS:



                                  Name: Alan R. Crain, Jr.



                                  Name: Carol Flaton



                                  Name: J. Barton Kalsu




                    [SIGNATURE PAGE TO RESOLUTION OF SPECIAL COMMITTEE]
       Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 12 of 22




               IN WITNESS WHEREOF, the undersigned, being all of the directors who are
members of the Committee of EP ENERGY CORPORATION, have executed this written
consent as of the date set forth above.



                                  COMMITTEE DIRECTORS:



                                  Name: Alan R. Crain, Jr.



                                  Name: Carol Flaton



                                  Name: J. Barton Kalsu




                    [SIGNATURE PAGE TO RESOLUTION OF SPECIAL COMMITTEE]
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 Fill in this information to identify the case:

 Debtor name: EP Energy Corporation
 United States Bankruptcy Court for the Southern District of Texas
                                              (State)
 Case number (If known):                                                                                                              ☐ Check if this is an
                                                                                                                                      amended filing



Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
Largest Unsecured Claims and Are Not Insiders                               12/15

A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest
unsecured claims.

                                                                                     Nature of                                     Amount of claim
                                                                                       claim                   If the claim is fully unsecured, fill in only unsecured
                                                                                        (for                     claim amount. If claim is partially secured, fill in
                                                                                                   Indicate if
                                                                                     example,                      total claim amount and deduction for value of
           Name of creditor and               Name, telephone number                                claim is
                                                                                   trade debts,                  collateral or setoff to calculate unsecured claim.
         complete mailing address,              and email address of                              contingent,
                                                                                    bank loans,
            including ZIP code                    creditor contact                               unliquidated,                       Deduction
                                                                                   professional                   Total claim,
                                                                                                  or disputed                        for value of
                                                                                   services, and                   if partially                       Unsecured claim
                                                                                                                                    collateral or
                                                                                   government                        secured
                                                                                                                                        setoff
                                                                                    contracts)

   Wilmington Savings Fund Society
   as Trustee of the 6.375% Senior       Attn.: Shawn Goffinet
   Notes due 2023                        Telephone: 972‐383‐3156
 1                                                                                 Senior Notes                                                    $324,000,000.00
   Attn.: Shawn Goffinet                 E‐mail:
   15950 North Dallas Parkway            sgoffinet@wilmingtontrust.com
   Dallas, TX 75248

   Wilmington Savings Fund Society
   as Trustee of the 7.750% Senior       Attn.: Shawn Goffinet
   Notes due 2022                        Telephone: 972‐383‐3156
 2                                                                                 Senior Notes                                                    $182,000,000.00
   Attn.: Shawn Goffinet                 E‐mail:
   15950 North Dallas Parkway            sgoffinet@wilmingtontrust.com
   Dallas, TX 75248

   Wilmington Trust, National
   Association as Trustee of the         Attn.: Shawn Goffinet
   9.375% Senior Notes due 2020          Telephone: 972‐383‐3156
 3                                                                                 Senior Notes                                                    $182,000,000.00
   Attn.: Shawn Goffinet                 E‐mail:
   15950 North Dallas Parkway            sgoffinet@wilmingtontrust.com
   Dallas, TX 75248

   Storey Minerals, Ltd.,
   Maltsberger/Storey Ranch, LLC,
   and Rene R. Barrientos, Ltd.          Attn.: Robert G. Hargrove
 4 Attn.: Robert G. Hargrove             Telephone: 512‐476‐3529                      Litigation       C/U/D                                        $43,800,000.00
   515 Congress Avenue                   E‐mail: rob@texasenergylaw.com
   Suite 2450
   Austin, TX 78701




 Official Form 204                                List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                           Page 1
                       Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 14 of 22
Debtor     EP Energy Corporation                                                             Case number (if known)
           Name


                                                                              Nature of                                     Amount of claim
                                                                                claim                   If the claim is fully unsecured, fill in only unsecured
                                                                                 (for                     claim amount. If claim is partially secured, fill in
                                                                                            Indicate if
                                                                              example,                      total claim amount and deduction for value of
           Name of creditor and           Name, telephone number                             claim is
                                                                            trade debts,                  collateral or setoff to calculate unsecured claim.
         complete mailing address,          and email address of                           contingent,
                                                                             bank loans,
            including ZIP code                creditor contact                            unliquidated,                       Deduction
                                                                            professional                   Total claim,
                                                                                           or disputed                        for value of
                                                                            services, and                   if partially                       Unsecured claim
                                                                                                                             collateral or
                                                                            government                        secured
                                                                                                                                 setoff
                                                                             contracts)

  Halliburton Energy Services, Inc.
  c/o Chaffe McCall, LLP              c/o Chaffe McCall, LLP
                                                                              Shipper,
  Attn.: Hal C. Welch                 Attn.: Hal C. Welch
5                                                                           Warehouser,                                                       $35,185,834.90
  2300 Energy Center                  Telephone: 504‐585‐7709
                                                                            Lien Holder
  1100 Poydras Street                 E‐mail: colletta@chaffe.com
  New Orleans, LA 70163

  State of Texas
  c/o Texas Comptroller of Public
  Accounts (Oil)
                                      Attn.: Account Maintenance                 Sales,
  Attn.: Account Maintenance
                                      Division                                Severance,
6 Division                                                                                      C/U/D        $12,506,848.86   $1,249,629.00   $11,257,219.86
                                      Telephone: 800‐531‐5441                and Use Tax
  Crude Oil and Natural Gas Tax
                                      E‐mail: congtax@cpa.texas.gov             liability
  Section
  111 E 17th Street
  Austin, TX 78774‐0100

  University Lands
                                      Attn.: General Counsel
  Attn.: General Counsel                                                        Royalty
                                      Telephone: 713‐352‐3808
7 825 Town and Country Lane                                                    Payment                                                         $9,517,303.36
                                      Fax: 832‐632‐8638
  Suite 1100                                                                    (State)
  Midland, TX 77024


  Frio LaSalle Pipeline LP
  Attn.: General Counsel
                                      Attn.: General Counsel
8 1717 Main Street                                                           Transporter                                                       $8,062,691.00
                                      Telephone: 210‐495‐5577
  Suite 5200
  Dallas, TX 75201


  FTS International Services LLC
  c/o Squire Patton Boggs LLP         Attn.: D. Patrick Long
                                                                              Shipper,
  Attn.: D. Patrick Long              Telephone: 214‐758‐1500
9                                                                           Warehouser,                                                        $5,379,774.00
  2500 McKinney Avenue                E‐mail:
                                                                            Lien Holder
  Suite 1700                          patrick.long@squirepb.com
  Dallas, TX 75201

   Archrock Services LP
   c/o Baker & Hostetler LLP
                                      Attn.: Brad K. Howell                   Shipper,
   Attn.: Brad K. Howell
10                                    Telephone: 713‐751‐1600               Warehouser,                                                        $3,378,736.21
   811 Main Street
                                      E‐mail: bhowell@bakerlaw.com          Lien Holder
   Suite 1100
   Houston, TX 77002




Official Form 204                          List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                           Page 2
                       Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 15 of 22
Debtor     EP Energy Corporation                                                            Case number (if known)
           Name


                                                                             Nature of                                     Amount of claim
                                                                               claim                   If the claim is fully unsecured, fill in only unsecured
                                                                                (for                     claim amount. If claim is partially secured, fill in
                                                                                           Indicate if
                                                                             example,                      total claim amount and deduction for value of
           Name of creditor and          Name, telephone number                             claim is
                                                                           trade debts,                  collateral or setoff to calculate unsecured claim.
         complete mailing address,         and email address of                           contingent,
                                                                            bank loans,
            including ZIP code               creditor contact                            unliquidated,                       Deduction
                                                                           professional                   Total claim,
                                                                                          or disputed                        for value of
                                                                           services, and                   if partially                       Unsecured claim
                                                                                                                            collateral or
                                                                           government                        secured
                                                                                                                                setoff
                                                                            contracts)

   Tetra Production Testing
   Services, LLC                                                             Shipper,
                                     Attn.: Brady M. Murphy
11 Attn.: Brady M. Murphy                                                  Warehouser,                                                        $2,984,706.22
                                     Telephone: 281‐367‐1983
   24955 Interstate 45 North                                               Lien Holder
   The Woodlands, TX 77380


   Tesoro Refining & Marketing
   Company LLC                                                             Royalty Fee /
                                     Attn.: General Counsel
12 Attn.: General Counsel                                                    WI Rev.                                                          $2,541,239.19
                                     Telephone: 210‐626‐7390
   19100 Ridgewood Parkway                                                   Payment
   San Antonio, TX 78259



   Ritchie Farms Ltd
                                     Attn.: Wesley Ritchie                 Royalty Fee /
   Attn.: Wesley Ritchie
13                                   E‐mail:                                 WI Rev.                                                          $2,432,422.12
   2112 Rio Grande Street
                                     support@mineralholders.com              Payment
   Austin, TX 78705


   Independence Oilfield
   Chemicals LLC
                                                                             Shipper,
   Attn.: Patrick Williams           Attn.: Patrick Williams
14                                                                         Warehouser,                                                        $2,200,643.37
   1450 Lake Robbins Drive           Telephone: 713‐936‐4340
                                                                           Lien Holder
   Suite 400
   The Woodlands, TX 77380


   Utah State Tax Commission
                                     Attn.: Bankruptcy Department
   Attn.: Bankruptcy Department                                              Severance
15                                   Telephone: 801‐297‐2200                                                $2,164,591.44   $135,000.00       $2,029,591.44
   210 North 1950 W                                                             Tax
                                     E‐mail: taxmaster@utah.gov
   Salt Lake City, UT 84134




   Texas Fueling Services, Inc.
                                     Attn.: Hanan Tuchshnieder        Shipper,
   Attn.: Hanan Tuchshnieder
16                                   Telephone: 281‐443‐2336        Warehouser,                                                               $1,995,000.00
   4220 Laura Koppe Road
                                     E‐mail: hanan@texasfueling.com Lien Holder
   Houston, TX 77016‐5026




Official Form 204                         List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                           Page 3
                       Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 16 of 22
Debtor     EP Energy Corporation                                                             Case number (if known)
           Name


                                                                              Nature of                                     Amount of claim
                                                                                claim                   If the claim is fully unsecured, fill in only unsecured
                                                                                 (for                     claim amount. If claim is partially secured, fill in
                                                                                            Indicate if
                                                                              example,                      total claim amount and deduction for value of
           Name of creditor and          Name, telephone number                              claim is
                                                                            trade debts,                  collateral or setoff to calculate unsecured claim.
         complete mailing address,         and email address of                            contingent,
                                                                             bank loans,
            including ZIP code               creditor contact                             unliquidated,                       Deduction
                                                                            professional                   Total claim,
                                                                                           or disputed                        for value of
                                                                            services, and                   if partially                       Unsecured claim
                                                                                                                             collateral or
                                                                            government                        secured
                                                                                                                                 setoff
                                                                             contracts)


   Baker Hughes
                                                                              Shipper,
   Attn.: Lorenzo Simonelli          Attn.: Lorenzo Simonelli
17                                                                          Warehouser,                                                        $1,937,915.56
   17021 Aldine Westfield Road       Telephone: 713‐439‐8600
                                                                            Lien Holder
   Houston, TX 77073



   Allied Horizontal Wireline Services
   Attn.: Joseph Sites                                                        Shipper,
                                       Attn.: Joseph Sites
18 3200 Wilcrest Drive                                                      Warehouser,                                                        $1,900,285.24
                                       Telephone: 713‐343‐7280
   Unit 170                                                                 Lien Holder
   Houston, TX 77042



   Texas Chrome Transport Inc.
                                     Attn.: Raul Mendez Jr.                   Shipper,
   Attn.: Raul Mendez Jr.
19                                   Telephone: 210‐622‐5757                Warehouser,                                                        $1,657,137.25
   16233 IH 35 South
                                     E‐mail: raul@teamtct.com               Lien Holder
   Atascosa, TX 78002


   Nabors Drilling Technologies
   USA Inc.
                                                                              Shipper,
   Attn.: Anthony G. Petrello        Attn.: Anthony G. Petrello
20                                                                          Warehouser,                                                        $1,642,943.58
   515 W Greens Road                 Telephone: 281‐874‐0035
                                                                            Lien Holder
   Suite 1200
   Houston, TX 77067


   J W Power Company
                                     Attn.: General Counsel                   Shipper,
   Attn.: General Counsel
21                                   Telephone: 972‐233‐8191                Warehouser,                                                        $1,635,127.26
   15505 Wright Brothers Drive
                                     E‐mail: info@jwenergy.com              Lien Holder
   Addison, TX 75001



   Multi Chem
   Attn.: General Counsel                                                     Shipper,
                                     Attn.: General Counsel
22 3000 N. Sam Houston                                                      Warehouser,                                                        $1,577,337.10
                                     Telephone: 281‐871‐4000
   Parkway East                                                             Lien Holder
   Houston, TX 77032




Official Form 204                          List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                           Page 4
                       Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 17 of 22
Debtor     EP Energy Corporation                                                             Case number (if known)
           Name


                                                                              Nature of                                     Amount of claim
                                                                                claim                   If the claim is fully unsecured, fill in only unsecured
                                                                                 (for                     claim amount. If claim is partially secured, fill in
                                                                                            Indicate if
                                                                              example,                      total claim amount and deduction for value of
           Name of creditor and          Name, telephone number                              claim is
                                                                            trade debts,                  collateral or setoff to calculate unsecured claim.
         complete mailing address,         and email address of                            contingent,
                                                                             bank loans,
            including ZIP code               creditor contact                             unliquidated,                       Deduction
                                                                            professional                   Total claim,
                                                                                           or disputed                        for value of
                                                                            services, and                   if partially                       Unsecured claim
                                                                                                                             collateral or
                                                                            government                        secured
                                                                                                                                 setoff
                                                                             contracts)
   Maltsberger/Storey Ranch, LLC
   Attn.: Christopher L. Halgren
                                     Attn.: Christopher L. Halgren
   c/o McGinnis, Lochridge &                                                Royalty FEE /
                                     Telephone: 713‐615‐8500
23 Kilgore, LLP                                                               WI Rev.                                                          $1,442,988.70
                                     E‐mail:
   711 Louisiana Street                                                       Payment
                                     chalgren@mcginnislaw.com
   Suite 1600
   Houston, TX 77002

   Basic Energy Services Inc.
                                     Attn.: General Counsel
   Attn.: General Counsel                                                     Shipper,
                                     Telephone: 817‐334‐4100
24 801 Cherry Street                                                        Warehouser,                                                        $1,345,972.36
                                     Email:
   Suite 2100                                                               Lien Holder
                                     info@basicenergyservices.com
   Fort Worth, TX 76102


   NGL Water Solutions Eagle
   Ford LLC
                                     Attn.: General Counsel                   Shipper,
   Attn.: General Counsel
25                                   Telephone: 918‐481‐1119                Warehouser,                                                        $1,253,614.75
   3773 Cherry Creek North Drive
                                     Email: info@nglep.com                  Lien Holder
   Suite 1000
   Denver, CO 80209

   Weatherford International Plc.
   Attn.: Kenneth M. Klemm           Attn.: Kenneth M. Klemm
                                                                              Shipper,
   c/o Baker, Donelson               Telephone: 504‐566‐5200
26                                                                          Warehouser,                                                        $1,194,793.79
   201 St. Charles Avenue            Email:
                                                                            Lien Holder
   Suite 3600                        kklemm@bakerdonelson.com
   New Orleans, LA 70170


   Office of Natural Resources
   Revenue ‐ (Ute Tribal)                                                      Royalty
                                     Attn.: Bankruptcy Department
27 Attn.: Bankruptcy Department                                               payment ‐                                                        $1,174,261.00
                                     Telephone: 800‐525‐0309
   P.O. Box 25165                                                               Tribal
   Denver, CO 80225‐0165


   Premier Pipe LLC
   Attn.: General Counsel            Attn.: General Counsel                   Shipper,
28 15600 John F. Kennedy Boulevard   Telephone: 832‐300‐8100                Warehouser,                                                        $1,101,617.50
   Suite 200                         Fax: 832‐300‐8198                      Lien Holder
   Houston, TX 77032




Official Form 204                          List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                           Page 5
                       Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 18 of 22
Debtor     EP Energy Corporation                                                            Case number (if known)
           Name


                                                                             Nature of                                     Amount of claim
                                                                               claim                   If the claim is fully unsecured, fill in only unsecured
                                                                                (for                     claim amount. If claim is partially secured, fill in
                                                                                           Indicate if
                                                                             example,                      total claim amount and deduction for value of
           Name of creditor and          Name, telephone number                             claim is
                                                                           trade debts,                  collateral or setoff to calculate unsecured claim.
         complete mailing address,         and email address of                           contingent,
                                                                            bank loans,
            including ZIP code               creditor contact                            unliquidated,                       Deduction
                                                                           professional                   Total claim,
                                                                                          or disputed                        for value of
                                                                           services, and                   if partially                       Unsecured claim
                                                                                                                            collateral or
                                                                           government                        secured
                                                                                                                                setoff
                                                                            contracts)


   DNOW L.P.
                                     Attn.: Raymond Chang                    Shipper,
   Attn.: Raymond Chang
29                                   Telephone: 281‐823‐4700               Warehouser,                                                        $1,074,153.55
   7402 N. Eldridge Parkway
                                                                           Lien Holder
   Houston, TX 77041




   Ruby Pipeline L.L.C.
   Attn.: Treasury                   Attn.: Treasury                          Contract
30                                                                                             C/U/D                                           Unliquidated
   1001 Louisiana Street             Telephone: 713‐420‐2300                  Damages
   Houston, TX 77002




Official Form 204                         List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                           Page 6
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


                                               §
In re:                                         §      Chapter 11
                                               §
EP ENERGY CORPORATION                          §      Case No. 19-_____ (___)
                                               §
                Debtor.                        §
                                               §

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
         TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

                Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1) and 7007.1,
attached hereto as Exhibit A is an organizational chart reflecting all of the ownership interests in
EP Energy Corporation (“EP Energy”) and its affiliated debtors (the “Affiliated Debtors”), as
proposed debtors and debtors in possession (collectively, the “Debtors”). EP Energy, on behalf
of itself and the Affiliated Debtors, respectfully represents as follows:
         1.     Each Debtor listed in Exhibit A is 100% owned by its direct parent unless
otherwise noted.
         2.     EP Energy is the ultimate parent company of each of the Affiliated Debtors, and
directly or indirectly owns a 100% equity interest in each of the Affiliated Debtors.
         3.     Equity ownership of EP Energy is represented by
               i.   Class A common stock, 39.0% held by affiliates of Apollo Global Management,
                    LLC, 12.3% held by Korea National Oil Corporation, 12.3% held by Riverstone
                    Holdings LLC, 13.7% held by Access Industries, Inc., and 22.7% widely held
                    by other shareholders in the aggregate; and
              ii.   Class B common stock held by (i) certain other former and current employees
                    of the Debtors, and (ii) non-debtor EPE Holdings II, LLC
Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 20 of 22




                            Exhibit A

                       Organizational Chart
                Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 21 of 22




                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION


                                                               §
           In re:                                              §        Chapter 11
                                                               §
           EP ENERGY CORPORATION                               §        Case No. 19-_____ (___)
                                                               §
           Debtor.                                             §
                                                               §

                                            LIST OF EQUITY HOLDERS1

                 Pursuant to Rule 1007 of the Federal Rules of Bankruptcy Procedure, the following identifies

all holders having an equity ownership interest, in the above- captioned debtor in possession.

        Name and Last Known Address of Equity                             Kind/Class                 Number of
        Interest Holder                                                   of Interest              Interests Held
         Affiliates of Apollo Global Management LLC
                                                                      Class A Common
                        9 West 57th Street                                                            39.00%
                                                                            Stock
                  New York, New York 10019
                 Korea National Oil Corporation
                                                                      Class A Common
                      5599 San Filipe Street                                                          12.30%
                                                                            Stock
                     Houston, Texas 77056
             Affiliates of Riverstone Holdings LLC
                                                                      Class A Common
                         712 5th Avenue                                                               12.30%
                                                                            Stock
                  New York, New York 10019
                      Access Industries, Inc.
                                                                      Class A Common
                       40 West 57th Street                                                            13.70%
                                                                            Stock
                  New York, New York 10019




1
 This list reflects holders of five percent or more of EP Energy Corporation’s common stock. It is based solely on information
obtained from June 30, 2019 Form 10Q. This list serves as the disclosure required to be made by the Debtor pursuant to Rule 1007
of the Federal Rules of Bankruptcy Procedures. By separate motion filed contemporaneously herewith, the Debtor is requesting a
waiver of the requirement under Rule 1007 to file a list of all of its equity security holders.
                  Case 19-35654 Document 1 Filed in TXSB on 10/03/19 Page 22 of 22




 Fill in this information to identify the case:

 Debtor name: EP Energy Corporation
 United States Bankruptcy Court for the Southern District of Texas
                                             (State)
 Case number (If known):




Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                               12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.


            Declaration and signature



   I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
   partnership; or another individual serving as a representative of the debtor in this case.
   I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
   correct to the best of my information and belief:
   ☐      Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
   ☐      Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
   ☐      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
   ☐      Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
   ☐      Schedule H: Codebtors (Official Form 206H)
   ☐      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
   ☐      Amended Schedule ____
          Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
          Insiders (Official Form 204)
         Other document that requires a declaration Consolidated Corporate Ownership Statement and List of Equity Holders

   I declare under penalty of perjury that the foregoing is true and correct.



     Executed on October 3, 2019
                                                      /s/ David Rush
                    MM / DD /YYYY                     Signature of individual signing on behalf of debtor

                                                      David Rush
                                                      Printed name

                                                      Chief Restructuring Officer
                                                      Position or relationship to debtor
